          Case 2:20-cv-02148-NIQA Document 24 Filed 11/09/21 Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MAUREEN BALKIEWICZ                              :            CIVIL ACTION
          Plaintiff                              :
                                                 :            NO. 20-2148
               v.                                :
                                                 :
 WAWA, INC.                                      :
           Defendant                             :

                                           ORDER
       AND NOW, this 9th day of November 2021, upon consideration of Defendant Wawa, Inc.’s

motion for summary judgment and statement of undisputed facts in support of its motion for summary

judgment, [ECF 19, 20], Plaintiff Maureen Balkiewicz’s response in opposition, [ECF 21], and

Defendant’s reply, [ECF 22], it is hereby ORDERED, for the reasons set forth in the accompanying

Memorandum Opinion, that Defendant’s motion for summary judgment is GRANTED.

       Accordingly, JUDGMENT is entered in favor of Defendant Wawa, Inc., and against Plaintiff

Maureen Balkiewicz on all claims.

       The Clerk of Court is directed to mark this matter CLOSED.



                                           BY THE COURT:


                                           /s/ Nitza I. Quiñones Alejandro
                                           NITZA I. QUIÑONES ALEJANDRO
                                           Judge, United States District Court
